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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

STUDENTS FOR FAIR ADMISSIONS,
                                              Plaintiff,
v.                                                              CIVIL CASE DISCOVERY PLAN
                                                                AND SCHEDULING ORDER
THE UNITED STATES MILITARY
ACADEMY AT WEST POINT, et al.,                                  No. 7:23-cv-08262 (PMH)
                                           Defendants.



   This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel and any unrepresented parties, pursuant to Fed. R. Civ. P. 16 and 26(f):

     1. All parties do not consent to conducting all further proceedings before a Magistrate Judge,
        including motions and trial, pursuant to 28 U.S.C. § 636(c). The parties are free to withhold
        consent without adverse substantive consequences. (If all parties consent, the remaining
        paragraphs of this form need not be completed and the parties shall file a fully executed Notice,
        Consent, and Reference of a Civil Action to a Magistrate Judge (form AO 85) using the ECF
        Filing Event “Proposed Consent to Jurisdiction by US Magistrate Judge” prior to the Initial
        Pretrial Conference at which time such scheduled conference will be cancelled.)

     2. This case is not to be tried to a jury.

     3. Amended pleadings may not be filed and additional parties may not be joined except with
        leave of the Court. Any motion to amend or to join additional parties shall be filed by
        30 days from the date of this Order.

     4. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed by
        July 1, 2024.

     5. Fact Discovery

             a. All fact discovery shall be completed by March 5, 2025. (Absent exceptional
                circumstances, a period not to exceed 120 days from date of this Order.)

             b. Initial requests for production            of   documents      shall     be   served   no
                earlier than July 30, 2024.

             c. Initial Interrogatories shall be served no earlier than July 30, 2024.

             d. Non-expert depositions shall be completed by March 5, 2025.

             e. Requests to admit shall be served no earlier than February 3, 2025.


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       f. Any of the interim deadlines in paragraphs 5(b) through 5(e) may be extended by the
          written consent of all parties without application to the Court, provided that all fact
          discovery is completed by the date set forth in paragraph 5(a).

6. Expert Discovery

       a. All expert discovery, including expert depositions, shall be completed by
          September 8, 2025. (Absent exceptional circumstances, 45 days from date in
          paragraph 5(a); i.e., the completion of all fact discovery.)

       b. Plaintiff’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made by
          April 16, 2025.

       c. Defendants’ expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made by
          May 28, 2025.

       d. Plaintiff’s rebuttal expert reports shall be due by June 27, 2025.

       e. Defendants’ rebuttal expert reports shall be due by July 28, 2025.

       f. The interim deadlines in paragraphs 6(b), 6(c), 6(d), and 6(e) may be extended by the
          written consent of all parties without application to the Court, provided that all expert
          discovery is completed by the date set forth in paragraph 6(a).

7. Additional provisions required by Fed. R. Civ. P. 26(f) and agreed upon by the parties are
   attached hereto and made a part hereof.

8. ALL DISCOVERY SHALL BE COMPLETED BY September 8, 2025. (Absent
   exceptional circumstances, this date should align with the close of expert discovery.)

9. The parties shall file a joint letter concerning settlement/mediation by March 19, 2025.
   (Unless otherwise ordered by the Court, within 14 days after the close of fact discovery).

10.    a. Counsel for the parties have discussed an informal exchange of information in aid of
          an early settlement of this case and have agreed upon the following: N/A
       b. Counsel for the parties have discussed the use of the following alternate dispute
           resolution mechanisms for use in this case: (i) a settlement conference before a
           Magistrate Judge; (ii) participation in the District’s Mediation Program; and/or (iii)
           retention of a privately retained mediator. Counsel for the parties propose the
           following alternate dispute resolution mechanism for this case: None.
       c. Counsel for the parties recommend that the alternate dispute resolution mechanism
           designated in paragraph b, be employed at the following point in the case: N/A
       d. The use of any alternative dispute resolution mechanism does not stay or modify any
           date in this Order.

11. All motions and applications shall be governed by the Court’s Individual Practices, including
    the requirement of a pre-motion conference before a motion for summary judgment is filed.
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 STUDENTS FOR FAIR ADMISSIONS,
                                            Plaintiff,
 v.                                                            RULE 26(f) PROVISIONS

 THE UNITED STATES MILITARY                                    No. 7:23-cv-08262 (PMH)
 ACADEMY AT WEST POINT, et al.,
                                          Defendants.

        The parties have agreed upon the following provisions required by Rule 26(f):

        Protective Order and Clawback Order: The parties agree that both a protective order and

clawback order will be needed in this case and will work cooperatively to submit these orders to the

Court by July 30, 2024.

        ESI Protocol: The parties agree to work cooperatively to develop an ESI protocol to the Court

by July 30, 2024.

        Depositions: The parties agree to 12 depositions per side, not including Rule 26 experts. The

parties will work cooperatively to try to ensure that no witness who is also a witness in Students for Fair

Admissions v. United States Naval Academy, 1:23-cv-02699 (D. Md.) will be deposed more than once between

the two cases.

        Written Discovery: The parties agree to 25 interrogatories, including discrete subparts, per side;

25 requests for production per side; 25 requests for admission per side, including discrete subparts.




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